                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:19-CV-00012

JANE DOE,

By and through her Guardian ad litem,
PAIGE L. PAHLKE;

And

KAREN VAUGHN, Individually,                            COMPLAINT
                                                   [Jury Trial Demanded]
                      Plaintiffs,

vs.

JAMES PAUL BLAIR, in his individual
capacity and in his official capacity as an
officer of the Lowell Police Department;

SCOTT BATES, in his official capacity as
the Chief of the Lowell Police Department;

THE CITY OF LOWELL, a North Carolina
Municipality,

                       Defendants.


      NOW COME the Plaintiffs, complaining of Defendants, alleging and saying as
follows:

                              PARTIES AND JURISDICTION

      1. The Plaintiff Jane Doe is a resident of Gaston County, North Carolina and is filing
          this action as a “Jane Doe” Complaint because she is the victim of childhood
          sexual abuse. Her identity has previously been made known to the Defendants.

      2. Plaintiff Karen Vaughn is a resident of Gaston County, North Carolina and is the
          mother of Plaintiff Jane Doe. Plaintiff Karen Vaughn brings herein an action for
          the loss of Plaintiff Jane Doe’s services during minority and the medical and
          other expenses reasonably necessary for treatment and care of Plaintiff Jane


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   Doe’s injuries and for the recovery of damages for the costs of rearing the
   natural, biological child of Plaintiff Jane Doe and Defendant James Paul Blair.

3. The Plaintiff Jane Doe brings herein an action for money damages pursuant to 42
    U.S.C. §§ 1983 and 1988, and the Constitution of the United States, the North
    Carolina Constitution and laws, for deprivation of the Plaintiff Jane Doe’s right
    to be free from discrimination on the basis of gender; to due process of law; to
    equal protection of the laws; to personal security; to privacy; to freedom from
    unlawful sexual contact; to be free from deprivation of other rights recognized
    under the state and federal Constitutions and laws, against Officer James Paul
    Blair of the Lowell Police Department, in his individual and official capacities;
    against Scott Bates, the Chief of the Lowell Police Department, in his official
    capacity; and against the City of Lowell, a North Carolina Municipality.

4. It is alleged that the individual officer, James Paul Blair, as a part of his duties as a
    law-enforcement mentor who worked with children, engaged in an unlawful
    sexual affair with Plaintiff Jane Doe, violating various rights found under both
    the Constitution of the United States and the North Carolina Constitution and
    laws.

5. Defendants Blair, Bates and City are “persons” within the meaning of the Civil
    Rights Act of 1871, 42 U.S.C. § 1983, and each has the capacity to be sued for the
    claims presented in this action.

6. Defendant Blair was, at all times relevant to this action, a law-enforcement officer
    employed by the City of Lowell. He is sued in his individual and official
    capacities. Upon information and belief, at all times relevant to this action,
    Defendant Blair was a citizen and resident of Gaston County, North Carolina.
    Upon information and belief, he is currently incarcerated at the Pamlico
    Correctional Institution in Pamlico County, North Carolina.

7. Defendant Bates was, at all times relevant to this action, a law-enforcement officer
    employed by the City of Lowell. He is sued in his official capacity. Upon
    information and belief, Defendant Bates is a resident of Gaston County, North
    Carolina.

8. Defendant City of Lowell (hereinafter “City”) is a body politic and corporate,
    located in Gaston County, North Carolina, which has the power to sue and be
    sued pursuant to N.C. Gen. Stat. § 160A-11. At all times relevant to this action,
    the City acted through its managers and policy makers, including the Chief of
    Police and other employees of the Lowell Police Department; and the acts, edicts,
    and practices of said persons represent the official policies of City.

9. Upon information and belief, Defendant City has waived any governmental
    immunity it could have raised to the Complaint in that, pursuant to N.C. Gen.

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   Stat. § 160A-485, the City has liability insurance that was in force at all times
   relevant hereto, or in the alternative it has reserved insurance funds to cover
   such acts, omissions and negligence as alleged hereinafter by Plaintiffs.

10. In the alternative, Defendant City, as authorized by N.C. Gen. Stat. § 160A-485.5,
    has waived sovereign immunity from civil liability in tort pursuant to Article 31
    of Chapter 143 of the General Statutes, as modified by G.S. § 160A-485(b) and
    subject to the limitations set forth in G.S. § 160A-485.5(c).

11. Defendants Blair and Bates were at all times relevant to this complaint duly
    appointed and acting law-enforcement officers employed by the City of Lowell,
    acting under color of law, to wit: under color of the statutes, ordinances,
    regulations, policies, customs and usages of the State of North Carolina and/or
    the City of Lowell.

12. Upon information and belief, Defendant Blair was screened, hired, trained and
    supervised by the City as a law enforcement officer in the City of Lowell, North
    Carolina, to serve as an agent and employee of the City.

13. Upon information and belief, Defendant Blair’s individual and official actions
    and omissions that are the subject of this Complaint were undertaken by him
    while acting under color of law and within the scope and course of his
    employment by the City.

14. At all times relevant hereto, Defendant Blair, both in his individual and official
    capacities, was acting as an appointed agent and employee within the scope of
    his employment and in furtherance of the business of his employer, the City of
    Lowell. Accordingly, his actions are imputed to Defendant City, which is
    responsible under the doctrine of respondeat superior, as well as the common-law
    principles of agency.

15. It is further alleged that the violations of Plaintiffs’ rights and acts and omissions
    described herein were committed as a result of policies and customs of the City
    of Lowell. It is alleged that the City of Lowell negligently hired and retained
    Defendant Blair, negligently supervised him, and violated the North Carolina
    state and federal constitutional rights of Plaintiffs.

16. Upon information and belief, Defendant City oversaw the conduct of its officers;
    Defendant City conducted background checks on officer candidates, including
    Defendant Blair; in general Defendant City was responsible for the training,
    retention and supervision of officers employed by the City of Lowell.

17. Upon information and belief, both prior to the events that form the gravamen of
    Plaintiffs’ action herein and since that time, Defendant City had actual or
    constructive notice of incidents in which a law-enforcement officer or officers

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   employed by Defendant City have flagrantly violated the rights of citizens, but
   turned a blind eye to these incidents, failed to adequately supervise or discipline
   offending officers, and have allowed a pattern and practice of constitutional
   violations to manifest.

18. The actions complained of herein occurred in Gaston County, North Carolina.

19. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343, and on the pendent
    jurisdiction of this Court to entertain claims arising under state law.

                              FACTUAL SUMMARY

20. All of the foregoing paragraphs are incorporated herein by this reference as if
    fully set forth.

21. Plaintiff Jane Doe is a minor who resides with her mother, Plaintiff Karen
    Vaughn, in the City of Lowell, North Carolina, where Defendant James Paul
    Blair was employed as a law-enforcement officer.

22. Before they hired Defendant Blair, Defendant City and Defendant Bates (either
    personally or by and through his predecessor) possessed actual or constructive
    notice that Defendant Blair had engaged in illegal sexual contact with a minor.

23. After they hired Defendant Blair, Defendants City and Bates (either personally or
    by and through his predecessor) continued to employ Defendant Blair, despite
    their actual or constructive knowledge that Defendant Blair had engaged in
    illegal sexual contact with a minor.

24. Upon information and belief, after Defendants City and Bates hired Defendant
    Blair but before 2015, Defendant Blair engaged in sexual contact with multiple
    minor female persons, and despite their actual or constructive knowledge of
    these facts, Defendants City and Bates continued to employ Defendant Blair.

25. Upon information and belief, sometime in 2015, Plaintiff Karen Vaughn
    requested the City of Lowell’s assistance in locating her daughter, Plaintiff Jane
    Doe.

26. Defendant Blair made contact with Plaintiff Karen Vaughn and her husband and
    assisted them in locating Plaintiff Jane Doe.

27. Defendant Blair located Plaintiff Jane Doe and told her to get into his police
    cruiser.

28. When Plaintiff Karen Vaughn and Plaintiff Jane Doe’s father asked Defendant
    Blair to release their daughter to them, Defendant Blair ordered them to back

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   away, and told them that they would face arrest if they did not immediately
   leave the area.

29. Defendant Blair told Plaintiff Karen Vaughn and Plaintiff Jane Doe’s father that
    he would bring Plaintiff Jane Doe home.

30. Defendant Blair, his colleagues and superiors all held out to the public that
    working with and mentoring children was a part of Officer Blair’s job as a law-
    enforcement officer employed by the City of Lowell.

31. Defendant Blair told Plaintiff Jane Doe’s parents that she would be safe with him,
    that working with children was part of his job, and that he could help Plaintiff
    Jane Doe.

32. Defendant Blair returned Plaintiff Jane Doe to her residence later in the day.

33. Defendant Blair began to communicate frequently both with Plaintiff Jane Doe
    and with Plaintiff Jane Doe’s parents, in person and via telephone, however, he
    instructed Plaintiff Jane Doe to conceal certain telephonic and electronic
    communications from third parties, including Plaintiff’s parents.

34. While in uniform and in furtherance of his duties as a law-enforcement officer
    employed by the City of Lowell, Defendant Blair often visited Plaintiff Jane Doe
    to provide her with candy or other foodstuffs, took her on rides in his police
    cruiser, and paid her visits at her home and elsewhere.

35. Defendant Blair also frequently visited and communicated with Plaintiff Jane
    Doe’s parents, reassuring them that his contact with her was part of his job as a
    law-enforcement officer with the City of Lowell and a part of his job of helping
    Plaintiff Jane Doe.

36. Defendant Blair represented to Plaintiff Jane Doe’s parents and to other third
    parties that Plaintiff Jane Doe had taken an interest in law enforcement, and that
    he was mentoring her on the profession of law enforcement and otherwise
    looking out for her well-being.

37. On numerous occasions, Defendant Blair suggested to Plaintiff Jane Doe’s
    parents and others that any questions or suspicions as to the propriety of his
    relationship with Plaintiff Jane Doe would subject Plaintiff Jane Doe’s parents
    and others to criminal liability.

38. While on duty and in a marked Lowell Police Department cruiser, Defendant
    Blair visited Plaintiffs’ residence, whereupon he took Plaintiff Jane Doe’s hand
    and placed it upon his erect genitalia, telling her “This is what you do to me.”


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39. While on duty and in a marked Lowell Police Department cruiser, Defendant
    Blair touched Plaintiff Jane Doe’s body and told her of his desire to engage in
    sexual relations with her.

40. Defendant Blair engaged in numerous sexual acts with Plaintiff Jane Doe —
    including sexual intercourse—at various times and at various locations.

41. Defendant Blair engaged in various sexual acts with Plaintiff Jane Doe —
    including sexual intercourse—while on duty and under the supervision of the
    City of Lowell.

42. Defendant Blair engaged in numerous sexual acts with Plaintiff Jane Doe —
    including sexual intercourse—while in uniform and on duty, inside a marked
    Lowell Police Department cruiser.

43. Upon information and belief, during the times at which these numerous sexual
    acts with Plaintiff Jane Doe occurred, Defendants City and Bates were on notice
    as to Defendant Blair’s whereabouts.

44. Upon information and belief, during other times at which these numerous sexual
    acts with Plaintiff Jane Doe occurred, Defendants City and Bates were on notice
    that Defendant Blair’s whereabouts and actions were unaccounted for.

45. Defendant Blair impregnated Plaintiff Jane Doe.

46. On or about September 1, 2016, Defendant Blair was charged with statutory rape
    of a child in violation of N.C. Gen. Stat. § 14-27.25(a).

47. On or about March 9, 2017, Defendant Blair pled guilty to the charge of statutory
    rape and was sentenced to serve between 60 and 72 months in prison.

48. Plaintiff Jane Doe suffered physical injuries, pain and suffering and
    psychological and emotional trauma as a result of the acts, omissions and
    negligence of Defendants.

49. Plaintiff Jane Doe gave birth to a healthy male child, the natural offspring of
    herself and Defendant Blair. Plaintiff Karen Vaughn has exercised custody over
    said child and provides the care and services for said child, and pays the
    expenses associated with such care and services. She seeks recovery of said
    expenses herein.

50. Plaintiff Karen Vaughn has paid medical expenses reasonably necessary to treat
    the personal injuries suffered by Plaintiff Jane Doe and seeks recovery of the
    same herein.


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51. Defendant Blair was aware of the suffering his behavior inflicted upon both
    Plaintiffs, and even after being questioned by Plaintiff Karen Vaughn, Defendant
    Blair conveyed false information to and deceived Plaintiff Karen Vaughn in
    order to sequester himself with Plaintiff Jane Doe, thereby prolonging and
    enhancing the emotional suffering of both Plaintiffs.

                          FIRST CLAIM FOR RELIEF
              Negligent Hiring, Training, Supervision and Retention
                      Defendants City of Lowell and Bates

52. All of the foregoing paragraphs are incorporated herein by this reference as if
    fully set forth.

53. Defendants City of Lowell and Bates were tasked with the affirmative duty of
    supervising Defendant Blair, and Defendants City and Bates owed Plaintiffs a
    duty to exercise due care in their supervision of Defendant Blair.

54. Defendant City of Lowell, through its Board, its officers, agents and employees,
    breached the duty of care owed to Plaintiffs by failing to supervise, monitor,
    train, retrain, educate, reeducate, discipline, terminate or otherwise correct,
    prevent or aid in preventing Defendant Blair’s actions.

55. Defendant Bates, through his officers, agents and employees, breached the duty
    of care owed to Plaintiffs by failing to supervise, monitor, train, retrain, educate,
    reeducate, discipline, terminate or otherwise correct, prevent or aid in preventing
    Defendant Blair’s actions.

56. Upon information and belief, Defendants City and Bates were on notice of at
    least one other incident in which Defendant Blair was accused of sexual contact
    with a minor. However, Defendants City and Bates hired Defendant Blair,
    willfully allowed Defendant Blair to continue on patrol, and even assigned
    Defendant Blair to positions in which he would come into close contact with
    children.

57. As a direct and foreseeable consequence of the breach of the duties Defendants
    owed them, Plaintiffs were injured in the manner described in this Complaint.

58. At all times relevant to this cause of action, Defendants City of Lowell and Bates,
    the City’s Board and both Defendants’ officers, agents and employees were
    acting in the course and scope of their employment with the City of Lowell. At
    all times relevant to this action, the Lowell Police Department was owned and
    controlled by the City of Lowell. As such, all of the conduct alleged in this cause
    of action is attributable to the City of Lowell.



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59. Plaintiffs are entitled to an award of damages recoverable from the Defendants
    City of Lowell and Bates as a result of their negligent hiring, training,
    supervision and retention of Defendant Blair.


                         SECOND CLAIM FOR RELIEF
                                 Assault
                              Defendant Blair

60. All of the foregoing paragraphs are incorporated herein by this reference as if
    fully set forth.

61. Defendant Blair attempted by an intentional act, or by a show of force or
    violence, to cause an offensive or harmful physical contact with Plaintiff Jane
    Doe, including but not limited to harmful, offensive and illegal sexual contact,
    which injured Plaintiff Jane Doe.

62. Plaintiff Jane Doe was legally incapable of consenting to the sexual contact.

63. Plaintiff Jane Doe was placed in reasonable apprehension of an imminent threat
    of physical injury.

64. Defendant Blair had the present ability to cause the offensive or harmful contact
    with Plaintiff Jane Doe.

65. Defendant Blair committed statutory rape by engaging in sexual intercourse with
    Plaintiff Jane Doe while she was thirteen years of age.

66. Plaintiff Jane Doe was injured as a result of the assault upon her.

67. Plaintiff Jane Doe is entitled to an award of compensatory damages in an amount
    to be determined by the jury, and recoverable from Defendant Blair, for the
    assaults committed upon her by Defendant Blair and for the injuries and
    damages suffered by Plaintiff Jane Doe as a result thereof.

                           THIRD CLAIM FOR RELIEF
                                   Battery
                               Defendant Blair

68. All of the foregoing paragraphs are incorporated herein by this reference as if
    fully set forth.

69. Defendant Blair intended to cause an offensive or harmful physical contact with
    Plaintiff Jane Doe.

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70. Defendant Blair did cause an offensive or harmful contact with Plaintiff Jane
    Doe.

71. The contact occurred without Plaintiff Jane Doe’s consent; as a minor, as Plaintiff
    Jane Doe was legally incapable of consenting to sexual contact, including sexual
    intercourse.

72. Defendant Blair committed statutory rape by engaging in sexual intercourse with
    Plaintiff Jane Doe while she was thirteen years of age.

73. Plaintiff Jane Doe was injured as a result of the battery upon Plaintiff Jane Doe.

74. Plaintiff Jane Doe is entitled to an award of compensatory damages in an amount
    to be determined by the jury, and recoverable from Defendant Blair, for the
    batteries committed upon her by Defendant Blair and for the injuries and
    damages suffered by Plaintiff Jane Doe as a result thereof.

                         FOURTH CLAIM FOR RELIEF
            Negligent or Intentional Infliction of Emotional Distress
                                 All Defendants

75. All of the foregoing paragraphs are incorporated herein by this reference as if
    fully set forth.

76. Defendants’ conduct as alleged hereinabove was extreme and outrageous and
    exceeded all bounds usually tolerated by decent society.

77. Defendants’ conduct was either intended to cause Plaintiffs’ severe emotional
    distress or, in the alternative, was undertaken with such recklessness as to
    manifest a wanton disregard as to whether such conduct would cause Plaintiffs
    to suffer severe emotional distress.

78. Defendants’ conduct did in fact cause Plaintiffs to suffer severe emotional
    distress.

79. As a result of the conduct of Defendants, Plaintiffs suffered emotional distress
    that no reasonable persons could be expected to endure in that Plaintiffs suffered
    harm to their emotional and psychological wellbeing.

80. Plaintiffs are entitled to an award of compensatory damages in an amount to be
    determined by the jury, and recoverable from Defendants, for the intentional or
    negligent infliction of emotional distress upon Plaintiffs and for injuries and
    damages stemming therefrom.


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                           FIFTH CLAIM FOR RELIEF
        Plaintiffs’ Claim for Medical Expenses and Wrongful Conception
                                All Defendants

81. All of the foregoing paragraphs are incorporated herein by this reference as if
    fully set forth.

82. Plaintiff Karen Vaughn suffered loss of Plaintiff Jane Doe’s services during the
    latter’s minority, proximately caused by the negligent and intentional conduct of
    the Defendants, described herein, and is entitled to damages therefor in an
    amount to be determined by the jury, and recoverable from Defendants.

83. Plaintiff Karen Vaughn has paid medical expenses reasonably necessary for
    treatment of the injuries suffered by Plaintiff Jane Doe and is entitled to an award
    of compensatory damages in an amount to be determined by the jury, and
    recoverable from Defendants.

84. In 2016, Plaintiff Jane Doe discovered that she was pregnant and further
    discovered that Defendant Blair was responsible for the pregnancy.

85. Plaintiff Jane Doe lacked the financial resources to care for a child, and Plaintiff
    Karen Vaughn already had the responsibility of other children and was unable to
    financially bear the responsibility of another child.

86. Defendants’ negligent and intentional conduct directly caused Plaintiff Jane Doe
    to become pregnant.

87. As a direct result of the negligent and intentional conduct of Defendants,
    Plaintiff Jane Doe became pregnant and a child was born to Plaintiff Jane Doe in
    2017.

88. As a further result of the negligent and intentional conduct of Defendants,
    Plaintiffs have been caused to suffer damages for medical expenses of Plaintiff
    Jane Doe, for the birth of Plaintiff Jane Doe’s child, and for the general cost and
    maintenance of said minor child from the date of his birth until such time as he
    shall become of legal age or emancipated.

89. Plaintiffs are entitled to an award of compensatory damages in an amount to be
    determined by the jury, and recoverable from Defendants, for the damages to
    and medical expenses of Plaintiff Jane Doe, for the birth of Plaintiff Jane Doe’s

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     child, for the general cost and maintenance of said minor child from the date of
     his birth until such time as he shall become of legal age or emancipated.




NEGLIGENCE AND VICARIOUS LIABILITY OF DEFENDANT CITY OF LOWELL

  90. All of the foregoing paragraphs are incorporated herein by this reference as if
      fully set forth.

  91. At all times relevant herein, Defendants Bates and Blair were employees,
      servants, and/or agents of Defendant City of Lowell and acted on behalf of said
      City in the general course and scope of their employment and/or agency.

  92. At all times relevant, Defendants Bates and Blair were acting under Defendant
      City’s direction, control, and for its purpose.

  93. The torts—including but not limited to the assaults, batteries, and the infliction
      of emotional distress described above—and the negligence of Defendants Bates
      and Blair, are imputed to Defendant City.

  94. Defendants were the proximate cause of Plaintiffs’ injuries and damage.

                            SIXTH CLAIM FOR RELIEF
                                 42 U.S.C. § 1983
                                 All Defendants

  95. All of the foregoing paragraphs are incorporated herein by this reference as if
      fully set forth.

  96. Plaintiff Jane Doe claims damages for the injuries set forth above under 42 U.S.C.
      § 1983 against the Defendants for violation of her constitutional rights under
      color of law.

  97. The conduct of Defendants violated Plaintiff Jane Doe’s civil rights guaranteed
      by the Constitution of the United States and the North Carolina Constitution and
      laws, as follows:

            a. Defendants deprived Plaintiff Jane Doe of her right to be free from
            discrimination on the basis of gender;

            b. Defendants deprived Plaintiff Jane Doe of her right to due process of
            law;


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          c. Defendants deprived Plaintiff Jane Doe of her right to equal protection
          of the laws;

          d. Defendants deprived Plaintiff Jane Doe of her right to personal security;

          e. Defendants deprived Plaintiff Jane Doe of her right to privacy;

          f. Defendants deprived Plaintiff Jane Doe of her right to freedom from
          unlawful assault, battery and sexual contact at the hands of the police;

          g. Defendants deprived Plaintiff Jane Doe of other rights recognized
          under the state and federal Constitutions and laws.

98. Because of Defendants’ actions, Plaintiff Jane Doe suffered violations of her
    rights under the Fourth and Fourteenth Amendments to the Constitution of the
    United States and sundry other provisions of the state and federal Constitutions
    and laws.

99. Upon information and belief, prior to the acts complained of herein, the City of
    Lowell developed and maintained policies or customs exhibiting deliberate
    indifference to the constitutional rights of persons in Lowell, which caused the
    violations of Plaintiff Jane Doe’s rights.

100. Upon information and belief, it was the policy and/or custom of the City to
   inadequately supervise and train its police officers, including Defendant Blair,
   thereby failing to adequately discourage further constitutional violations on the
   part of its police officers.

101. Upon information and belief, the City did not require appropriate in-service
   training or re-training of officers who were known to have engaged in police
   misconduct.

102. As a result of the above-described policies and customs, police officers of the
   City of Lowell, including Defendant Blair, believed that their actions would not
   be properly monitored by supervisory officers and that misconduct would not be
   investigated or sanctioned, but would be tolerated.

103. The above-described policies and customs demonstrate a deliberate indifference
   on the part of policymakers of the City of Lowell to the constitutional rights of
   persons within the City, and were the cause of the violations of Plaintiff Jane
   Doe’s rights alleged herein.

104. As a direct and proximate result of Defendants’ acts and/or omissions as set
   forth above, Plaintiff Jane Doe sustained injuries and sustained damages as
   otherwise set forth in this Complaint.
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105. The conduct of Defendants entitles Plaintiff Jane Doe to punitive damages and
   penalties allowable under 42 U.S.C. § 1983.

106. Plaintiff Jane Doe is entitled to reasonable costs and attorney’s fees pursuant to
   42 U.S.C. §§ 1983 and 1988.

107. Defendants are not entitled the benefit of qualified immunity as law-
   enforcement officers because they violated clearly established statutory or
   constitutional rights of which reasonable persons would have known.

                        SEVENTH CLAIM FOR RELIEF
                              42 U.S.C. § 1983
                         Defendants Bates and City
POLICY, PATTERN, PRACTICE; NEGLIGENT HIRING, RETENTION AND/OR SUPERVISION

108. All of the foregoing paragraphs are incorporated herein by this reference as if
   fully set forth.

109. Defendants City and Bates had a duty to exercise ordinary and reasonable care
   in the screening, hiring, training, retention, supervision and discipline of its
   police officers.

110. Defendants City and Bates breached this duty.

111. Defendants City’s and Bates’ breaches of their duty directly and proximately
   led to damages suffered by Plaintiff Jane Doe.

112. Defendants City’s and Bates’ acts and conduct, as alleged hereinabove, were
   taken under the color of law.

113. Defendant Blair’s acts and conduct, as alleged herein, violated Plaintiff Jane
   Doe’s constitutionally protected rights.

114. Specifically, Defendant Blair’s acts and conduct, as alleged herein, violated
   Plaintiff Jane Doe’s rights as follows, in addition to other ways: Defendant Blair’s
   assaults, batteries and infliction of emotional distress upon Plaintiff Jane Doe
   violated Plaintiff Jane Doe’s right to be free from discrimination on the basis of
   gender; to due process of law; to equal protection of the laws; to personal
   security; to privacy; to freedom from unlawful assault, battery and sexual contact
   at the hands of the police; and other rights to be described more fully at trial.




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115. Upon information and belief, Defendants’ violations of Plaintiff Jane Doe’s
   Constitutional rights were made pursuant to policy, procedure, past practice,
   habit, custom, and/or directives of Defendants City and Bates.

116. Upon information and belief, Defendant Blair’s violation of Plaintiff Jane Doe’s
   rights was pursuant to and consistent with an informal or de facto policy, or a
   custom of Defendant Blair’s employer. Defendant Blair has engaged in a pattern
   of conduct in violation of established norms of which his employers had notice
   but negligently and recklessly failed to correct.

117. Defendants, by and through the position of knowledge, activities and
   ratification of the person or persons having supervisory responsibility over said
   case implemented, promulgated, adopted, ratified and acquiesced in the
   deliberate indifference to the serious deprivation of Plaintiff Jane Doe’s rights
   and willfully, wantonly, recklessly or negligently created an unlawful and
   unreasonable risk of injury to Plaintiff Jane Doe.

118. Defendants, by and through the position of knowledge, activities and
   ratification of the person or persons having supervisory responsibility over said
   case implemented, promulgated, adopted, ratified and acquiesced in the
   deliberate indifference to the rights of Plaintiff Jane Doe and willfully, wantonly,
   recklessly or negligently created an unlawful and unreasonable risk of violations
   of Plaintiff Jane Doe’s state and federal constitutional rights and rights under
   laws.

119. As a direct and proximate result and consequence of the activities of
   Defendants, Plaintiff Jane Doe was deprived of her rights as secured and
   guaranteed by the Fourth and Fourteenth Amendments to the Constitution of the
   United States and other provisions of the federal and state Constitutions and
   laws.

120. As a direct and proximate result of the activities alleged above, Plaintiff Jane
   Doe suffered damages, including pain and suffering, for which Defendants are
   liable.

121. Defendants City’s and Bates’ actual and/or de facto policies, practices and
   customs were a direct and proximate cause of the injuries and damage suffered
   by Plaintiff and the deprivation of her rights as alleged herein.

122. Such policies and customs include the failure to properly supervise, discipline
   and otherwise control police officers; the failure to screen potential police
   officers; and the failure to investigate the backgrounds and aptitude for police
   work of current and potential officers.



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   123. Defendants City and Bates are liable for Defendant Blair’s conduct because they
      negligently hired and retained Defendant Blair and are therefore deemed to have
      ratified Defendant Blair’s conduct.

   124. The acts of Defendant City were committed under color of law.

                           EIGHTH CLAIM FOR RELIEF
                                42 U.S.C. § 1983
                           Defendants Bates and City
                     FAILURE TO TRAIN, SUPERVISE & DISCIPLINE

   125. All of the foregoing paragraphs are incorporated herein by this reference as if
      fully set forth.

   126. Defendants, jointly and severally, negligently, deliberately, recklessly failed to
      properly train or supervise the officers involved in the unlawful and
      unconstitutional conduct described herein, resulting in the injuries and damage
      to Plaintiff Jane Doe herein described.

   127. The failure to train and/or discipline was the result of the Defendants’
      deliberate disregard of the Constitutional rights of Plaintiff Jane Doe and the
      public at large.

   128. As a proximate result of Defendant City’s failure to properly supervise, train
      and discipline Defendant Blair and any other officer involved in the unlawful
      and unconstitutional conduct described herein, Plaintiff Jane Doe suffered severe
      physical and mental injuries.

   129. The failure of Defendant City to properly train or supervise Defendant Blair
      constituted deliberate indifference to Plaintiff Jane Doe’s rights and others with
      whom Defendants, their agents and employees came into contact.

               PUNITIVE DAMAGES PURSUANT TO N.C. GEN. STAT. § 1D

  130. All of the foregoing paragraphs are incorporated herein by this reference as if
fully
       set forth.

  131. Through their failure to adhere to applicable police policies and exercise proper
       supervision and control, Defendants evinced reckless or callous indifference to
       Plaintiffs’ rights.

  132. Defendants owed Plaintiffs a duty of reasonable care under the circumstances.

  133. The acts and omissions of Defendants constituted wanton and reckless

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      negligence and constituted an actual conscious indifference to the health, safety
      and welfare of Plaintiffs.

  134. Defendants owed Plaintiffs a duty to exercise that level of care in the training
and
       supervision of officers which would have prevented Plaintiffs’ injuries.

  135. Defendants, including but not limited to those whose identities have not yet been
       ascertained, owed Plaintiffs a duty of reasonable care under the circumstances.

  136. Defendants, including but not limited to those whose identities have not yet been
       ascertained, negligently, recklessly and wantonly breached that duty and as a
       direct and proximate result, Plaintiffs suffered injuries.

  137. Plaintiffs are entitled to recover punitive damages from Defendants, jointly and
       severally, pursuant to N.C. Gen. Stat. §1D et seq.

      WHEREFORE, Plaintiffs pray the Court as follows:

   1. That as a direct and proximate result of Defendants’ torts, negligence and
      violations of Plaintiffs’ rights, Plaintiffs be awarded compensatory damages;

   2. That Plaintiffs, in particular Plaintiff Karen Vaughn, be awarded compensatory
      damages for medical expenses reasonably necessary for the treatment of Plaintiff
      Jane Doe’s injuries, and damages for the general cost and maintenance of the
      minor child of Plaintiff Jane Doe from the date of his birth until such time as he
      shall become of legal age or emancipated;

   3. That Plaintiffs be awarded punitive damages from Defendants, jointly and
      severally, pursuant to N.C. Gen. Stat. §1D et seq. and/or 42 U.S.C. § 1983;

   4. That the costs of this action be taxed to Defendants;

   5. That Plaintiffs recover from Defendants interest on any recovery hereunder, from
      the date of the filing of this action until paid, as provided by law, in an amount
      no less than 8% per annum;

   6. That Plaintiffs recover attorneys’ fees pursuant to N.C. Gen. Stat. § 6-21.1,
      pursuant to 42 U.S.C. §§ 1983 and 1988, and any other legal doctrine, statute or
      law providing for the recovery of attorneys’ fees;

   7. That Plaintiffs have a trial by jury on all issues so triable; and

   8. For such other and further relief as to which Plaintiffs may be entitled or as the
      Court may see proper and just.

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      This the 8th day of January, 2019.

      /s/Matthew R. Arnold                 /s/ J. Bradley Smith
      Matthew R. Arnold                    J. Bradley Smith
      N.C. Bar No.: 31370                  N.C. Bar No.: 3293

                                           /s/ Paul A. Tharp
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